                       Case 1:25-mj-07214-JCB
2-6   5HYLVHG86'&0$        Document 1-1              Filed 05/01/25            Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: Wareham                 Category No.      II                    Investigating Agency                FBI

City    Wareham                                5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                   &DVH1R
County       Plymouth
                                                6DPH'HIHQGDQW                    1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU 25-MJ-7214-JCB

                                                6HDUFK:DUUDQW&DVH1XPEHU 24-MJ-7011-JCB, 24-MJ-7012-JCB
                                                55IURP'LVWULFWRI
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH            <HV         1R
Defendant Information:                           K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

'HIHQGDQW1DPH       Brandon Bendall                                                                       -XYHQLOH          G <HV         1R

                                     ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                   G <HV          1R
$OLDV1DPH
$GGUHVV

%LUWKGDWH <URQO\ BBBBBB 661 ODVW BBBBB    6H[BBBBBB         5DFHBBBBBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:                                                        $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       David G. Tobin                                            %DU1XPEHULIDSSOLFDEOH 552558

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV        1R       ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV         1R

Matter to be SEALED:               ✔ <HV              1R

    :DUUDQW5HTXHVWHG               5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                               RQ

Charging Document:                 ✔ &RPSODLQW                 G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                 G 3HWW\                     G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 5/1/2025                              6LJQDWXUHRI$86$ V'DYLG*7RELQ
                      Case 1:25-mj-07214-JCB                        Document 1-1            Filed 05/01/25   Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Brandon Bendall
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                    Count Numbers

6HW
          18 U.S.C. § 2252A(a)(5)(B)                   Possession of child pornography                           1
6HW
          18 U.S.C. § 2252A(a)(2)                      Distribution of child pornography                         1

6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

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